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 1                                          UNITED STATES DISTRICT COURT
 2                                      NORTHERN DISTRICT OF CALIFORNIA
 3                                                           )
                                                             )   Case No: _______________
 4                                                           )
                                             Plaintiff(s),   )   APPLICATION FOR
 5                                                           )   ADMISSION OF ATTORNEY
               v.
                                                             )   PRO HAC VICE
 6                                                           )   (CIVIL LOCAL RULE 11-3)
                                                             )
 7                                                           )
                                             Defendant(s).
                                                             )
 8
          I,                                      , an active member in good standing of the bar of
 9
                                   , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing:                                              in the
     above-entitled action. My local co-counsel in this case is __________________________________, an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                       LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    Wilmer Cutler Pickering Hale and Dorr LLP                   Wilmer Cutler Pickering Hale and Dorr LLP
      1875 Pennsylvania Avenue NW                                 2600 El Camino Real, Suite 400
14     Washington, DC 20006                                       Palo Alto, CA 94306
       MY TELEPHONE # OF RECORD:                                   LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15
       MY EMAIL ADDRESS OF RECORD:                                 LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is:              .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
          I declare under penalty of perjury that the foregoing is true and correct .
21
      Dated:                                                               s/
22                                                                                           APPLICANT

23
                                          ORDER GRANTING APPLICATION
24                                  FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of                                            is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.

28   Dated: October 15, 2021
                                                                   UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                          October 2012
